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         Individual appearing without an attorney
         Attorney for Bradley D. Sharp, Chapter 11 Trustee

                                     UNITED STATES BANKRUPTCY COURT
                           CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
    In re:                                                                           CASE NO.: 2:23-bk-10990-NB
                                                                                     CHAPTER: 11
             LESLIE KLEIN,
                                                                                     NOTICE OF LODGMENT OF ORDER IN
                                                        Debtor(s)                    BANKRUPTCY CASE RE: (title of motion1)
                                                                                     MOTION OF CHAPTER 11 TRUSTEE, FOR
                                                                                     ORDER ENFORCING THE AUTOMATIC STAY
                                                                                     AND SANCTIONS AGAINST (A) THE DEBTOR,
                                                                                     (B) DANIEL CRAWFORD, (C) CRAWFORD
                                                                                     LAW GROUP, (D) LESLIE KLEIN &
                                                                                     ASSOCIATES, INC., AND (E) EKLK
                                                                                     FOUNDATION, AND RELATED RELIEF


      PLEASE TAKE NOTE that the order titled JUDGMENT AGAINST (A) LESLIE KLEIN, (B) DANIEL
      CRAWFORD, (C) CRAWFORD LAW GROUP, (D) LESLIE KLEIN & ASSOCIATES, AND (E)
      EKLK FOUNDATION was lodged on (date) July 17, 2025 and is attached. This order relates to the Motion
      which is docket numbers 969 and 1176.




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    Please abbreviate if title cannot fit into text field.


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                                                                    7 Counsel to Bradley D. Sharp, Chapter 11 Trustee

                                                                    8                                  UNITED STATES BANKRUPTCY COURT
                                                                                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                    9
                                                                                                             LOS ANGELES DIVISION
                                                                   10

                                                                   11 In re:                                             Case No. 2:23-bk-10990-NB

                                                                   12 LESLIE KLEIN,                                      Chapter 11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                                                         JUDGMENT AGAINST (A) LESLIE KLEIN,
                                                                   13
                                        LOS ANGELES, CALIFORNIA




                                                                                                 Debtor.                 (B) DANIEL CRAWFORD, (C) CRAWFORD
                                           ATTORNEYS AT LAW




                                                                                                                         LAW GROUP, (D) LESLIE KLEIN &
                                                                   14                                                    ASSOCIATES, AND (E) EKLK FOUNDATION
                                                                   15

                                                                   16                                                    [RELATES TO DOCKET NOS. 969 AND 1176]

                                                                   17
                                                                                  The Court, having reviewed and considered the Motion for Order Enforcing
                                                                   18
                                                                        Stay and Sanctions [Docket No. 969] against (i) Leslie Klein, (ii) Daniel Crawford,
                                                                   19
                                                                        (iii) Crawford Law Group, (iv) Leslie Klein & Associates, and (v) EKLK
                                                                   20
                                                                        Foundation, and having called this matter for hearing on July 15, 2025; and for the
                                                                   21
                                                                        reasons set forth in the Court’s Order, dated July 16, 2025, [Docket No. 1176]:
                                                                   22

                                                                   23             IT IS HEREBY ORDERED, ADJUDGED AND DECREED that Plaintiff
                                                                   24 recover the following:

                                                                   25             1.        Judgment in the amount of $62,664.50 is hereby entered against Leslie
                                                                   26 Klein, Daniel Crawford, Crawford Law Group, Leslie Klein & Associates, and

                                                                   27 EKLK Foundation, individually, jointly and severally, in favor of Bradley D. Sharp

                                                                   28 in his capacity as chapter 11 trustee of the bankruptcy estate of Leslie Klein.


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                                                                    1             2.        Post-judgment interest shall accrue and be payable by Leslie Klein,
                                                                    2 Daniel Crawford, Crawford Law Group, Leslie Klein & Associates, and EKLK

                                                                    3 Foundation, at the prevailing federal rate pursuant to 28 U.S.C. § 1961(a) from the

                                                                    4 date of entry of this Judgment to the date the amount is paid in full.

                                                                    5             3.        The Bankruptcy Court retains jurisdiction to implement and enforce
                                                                    6 this Judgment and any election of remedies.

                                                                    7
                                                                                                                             ###
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                                                                   11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                   12

                                                                   13
                                        LOS ANGELES, CALIFORNIA
                                           ATTORNEYS AT LAW




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                                           PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                      10100 Santa Monica Boulevard, Suite 1300, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER IN
BANKRUPTCY CASE will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
controlling General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink
to the document. On (date) July 17, 2025, I checked the CM/ECF docket for this bankruptcy case or adversary
proceeding and determined that the following persons are on the Electronic Mail Notice List to receive NEF
transmission at the email addresses stated below:


                                                                                       Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) July 17, 2025, I served the following persons and/or
entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and
correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as
follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than
24 hours after the document is filed.


                                                                                       Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
(date) July 17, 2025, I served the following persons and/or entities by personal delivery, overnight mail service,
or (for those who consented in writing to such service method), by facsimile transmission and/or email as
follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge
will be completed no later than 24 hours after the document is filed.

 Via Email:                                                            Via Email:
 Eric J Olson: eric@ejolsonlaw.com                                     Daniel A. Crawford: dac@crawfordlawgroup.com

 Leslie Klein: les.kleinlaw@gmail.com;
 leskleinlaw@gmail.com;
 kleinlaw@earthlink.net

                                                                                                Service information continued on attached
                                                                                             page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


     July 17, 2025                  Rolanda Mori                                                     /s/ Rolanda Mori
 Date                               Printed Name                                                       Signature


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1.    TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): 2:23-bk-
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2. SERVED BY UNITED STATES MAIL:

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     Los Angeles, CA 90017
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